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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al.,1                               CASE NO.: 21-32351 (DRJ)
               Debtors.                                                (Jointly Administered)

                               NOTICE OF FILING FIVE-WEEK BUDGET

           PLEASE TAKE NOTICE that Limetree Bay Services, LLC and its affiliates in the above

referenced jointly administered bankruptcy cases as debtors and debtors in possession

(collectively, the “Debtors”) hereby submit the five-week budget attached hereto as Exhibit A (the

“Five-Week Budget”) in connection with their continued use of cash collateral in accordance with

the Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition Senior Secured

Superpriority Financing and (B) Use Cash Collateral, (II) Granting Adequate Protection to

Prepetition Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief

(Doc. No. 495) (the “Final DIP Order”). The Debtors have met the requirements to modify or

amend the Approved Budget in accordance with Paragraphs N and 26 of the Final DIP Order.2



                                   [remainder of page intentionally left blank]




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.

2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Final DIP Order.
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 Dated: December 20, 2021                           BAKER & HOSTETLER LLP

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                                                    Counsel for the Debtors and Debtors in
                                                    Possession




                                      Certificate of Service

        I certify that on December 20, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                               /s/ Elizabeth A. Green
                                               Elizabeth A. Green




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